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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 lOTTIE INC. and HSM CO., LTD.,

                    Plaintiffs,                 Civ. No. 2:15-cv-6597-KM-JBC

              vs.                                          OPINION

 MERKURY INNOVATIONS,

                    Defendant.




KEVIN MCNULTY, U.S.D.J.:

       I awarded summary judgment to defendant Merkury Innovations in this
patent infringement case. Now before the court is Merkury’s motion for an
award of attorney’s fees pursuant to 35 U.S.C.    § 285. (ECF No. 94). For the
reasons expressed herein, I do not find the case to be exceptional, and the
motion is therefore denied.

       The relevant statute, 35 U.S.C.   § 285, permits an award of attorney’s fees
to the prevailing party in a patent case that is “exceptional.” An exceptional
case is one “that stands out from others with respect to the substantive
strength of a party’s litigating position (considering both the governing law and
the facts of the case) or the unreasonable manner in which the case was
litigated.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749,
 1756 (2014). The issue calls for an exercise of the court’s discretion, based on
the totality of the circumstances of the individual case. Factors to be
considered include “frivolousness, motivation, objective unreasonableness
and the need in particular circumstances to advance considerations of
compensation and deterrence.” Id. at 1756 n.6.




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   I.       PROCEDURAL HISTORY

         As I write solely for the parties, familiarity with the history of the matter
is assumed.
         This case was filed in September 2015. (ECF No. 1). On December 22,
2015, iOttie moved for entry of default, which was granted. (ECF No. 9).
Merkuiy moved to vacate the clerk’s entry of default. (ECF No. 11). That motion
was granted on February 23, 2016. (ECF No. 12).

         Merkury filed for summary judgment on June 23, 2017. (ECF No. 65).
Merkury and iOttie submitted an amended joint claim construction and
prehearing statement on November 7, 2017. (ECF No. 87). On December 29,
2017, I issued an opinion and order granting Merkury’s motion for summary
judgment. (ECF Nos. 92, 93). On January 26, 2018, Merkury filed the motion
for attorney’s fees that is now before the Courty. (ECF No. 94).

   II.      DISCUSSION

         Merkury argues that lOttie’s claim-construction arguments were
frivolous and unreasonable, and also that iOttie’s litigation conduct led to
unnecessary costs. Merkury seeks an award of attorney’s fees on these
grounds.
            A. Claim Construction

         Under the totality of the circumstances, lOttie’s proposed
 claim-construction arguments were not so unreasonable as to necessitate an
 award of attorney’s fees. At the summary judgment stage, iOttie proposed that
the term “for fixing or moving” should be construed as:

         [A] knob and hole (or structure which is an insubstantial change
         from a knob and hole) which provides for ficing a bracket in place if
        force applied is not sufficient to overcome friction sufficient to
         overcome friction force holding the bracket, and which also enables
         moving a bracket if the force applied is sufficient to overcome
        friction force holding the bracket.
 iOttie Inc. v. Merkury Innovations, No. 15-cv-6597, 2017 WL 6643834, at *8
 (D.N.J. Dec. 29, 2017). I found that this proposed construction did not arise

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from the “ordinary and customary meaning” of the phrase “for fixing or
moving.” Id. at 9. I thus adopted Merkury’s proposed construction—i.e., “for
fastening into place or allowing to be moved.” Id. This proposed construction
was not so frivolous or objectively unreasonable to compel the imposition of
attorney’s fees. And even when I adopted Merkuiy’s proposed claim
construction, iOttie raised genuine, colorable issues on two of the three prongs
of the function-way-result test. Id. at * 11-13. This suggests that iOttie’s
position was no so unreasonable to be deemed frivolous.
      I saw no evidence of untoward motive, apart from iOttie’s general
motivation to obtain an award of damages. Nor is there a showing of bad faith
or intent to harass. Declining to impose attorney’s fees here would not likely
embolden others or embolden iOttie to continue this litigation. iOttie also does
not appear to be a repeat player in bringing such patent claims.
            B. Litigation Behavior

      I do not find, based on the totality of circumstances, that iOttie engaged
in such unreasonable litigation conduct that an award of attorney’s fees is
appropriate. Merkuiy alleges that iOttie failed to timely prosecute the case,
harassed Merkury and its customers, refused to avoid unnecessary litigation
costs, and failed to attempt any good faith settlement negotiations—even
though the costs of litigation would exceed any potential recovery. (ECF No.
94-1, pp. 16-29). For instance, counsel for iOttie failed to bring a representative
of the company to a court-ordered settlement conference; iOttie, however, has
already been sanctioned for this. iOttie also wrote to the organizers of a
consumer electronics show in an attempt to have Merkury’s product removed
from the exhibition. iOttie issued a subpoena to Groupon, one of Merkury’s
customers, during a stay of discovery—and without notice to Merkury. iOttie
also opposed a stay while summary judgment was pending; Merkury claims
that this led to unnecessary litigation costs. iOttie responds that Merkury
mischaracterizes many of these instances, and does not mention its own
behavior.

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          Merkury also argues that iOttie should have agreed to their settlement
terms or offered settlement terms. However, Merkuiy points to no legal
authority that a party has a duty to engage in settlement discussions.
          Overall, Merkury posits that iOttie should have settled the case quickly
or avoided litigation costs because, according to Merkury, iOttie had a weak
case. As stated in subsection II.A, supra, I agree that iOttie’s position was
weak, but I decline to find that iOttie’s litigation position was frivolous or
objectively unreasonable. I also do not find that iOttie litigated in bad faith or
purposefully attempted to increase litigation costs. iOttie could have made
decisions that would have lowered the costs of litigation. But the record does
not show such egregious behavior that an award of attorney’s fees is
appropriate.
   III.      CONCLUSION

          For the foregoing reasons, Merkuiy’s motion for attorney’s fees is denied.
An appropriate order accompanies this opinion.



Dated: July 16, 2018




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